Case 2:05-cv-02300-.]PI\/|-STA Document 19 Filed 07/15/05 Page 1 of 3 Page|D 13

IN THE UNITED STATES I)ISTRICT coURT F"-E’ BY ._@` p,c,
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVIsIoN 05 JUL |5 n c,: ¢, 5
Roy Alinsub and Millicent Viva, ) HWSM MGO|[{D
on behalf of themselves and ) CLERK- US FWT
all others similarly situated, ) MD`C;L hiti‘.‘PHiS
)
Plaintiff$, )
)
v. ) Case No. 05-2300 l\/Il An
)
T-MOBILE, and )
T-MOBILE USA, )
)
Defendants. )

-P-RG'PO'S'E§BRDER APPROVING ADMISSION

PRO HAC VICE OF KRISTINE M. BROWN

IT APPEARING TO THE COURT that defendant’s Motion for Admission Pro
Hac Vice of Kristine M. Brown Should be granted;

IT IS THEREFORE ORDERED that Kristine M. Brown is admitted Pm Hac
Vz`ce for the purpose of appearing on behalf of defendant T-Mobile USA. lnc. in the
above-captioned litigation

ENTERED this _l_>:day 0f1u1y,2005.

le in O.QQK

H NORABLE JON PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet |n cr.;mpllance

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with Rule 58 and/or 79(3) FF\CP on '

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Case 2:05-cv-02300-.]PI\/|-STA Document 19 Filed 07/15/05 Page 2 of 3 Page|D 14

CERTIFICATE OF SERVICE
l hereby certify that I have served a copy 0f the foregoing on counsel of record by
causing a copy of same to be deposited in the United States Mail, postage prepaid, and

properly addressed as follows:

Christopher L. Brown
88 Union Avenue, Suite 1400
Memphis, Tennessee 38103

This 8th day of .1 uly, 2005 . Q&Pn`b 6 W

Robert L. Cravvfor

Wyatt Tarrant & mbs LLP
1715 Aaron Brenner Driver
Suite 800

Memphis, TN 38120-4367

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EssEE

 

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Honorable .1 on McCalla
US DISTRICT COURT

